             Case 2:20-cr-00092-JCC Document 519 Filed 06/22/21 Page 1 of 3




 1                                                                The Hon. John C. Coughenour
 2
 3
 4
 5
 6
 7                       UNITED STATES DISTRICT COURT FOR THE
                           WESTERN DISTRICT OF WASHINGTON
 8
                                     AT SEATTLE
 9
10      UNITED STATES OF AMERICA,                        NO. CR20-092-JCC
11                            Plaintiff,
12                      v.                               NOTICE OF APPEARANCE
                                                         OF ADDITIONAL COUNSEL
13
        ALAN GOMEZ-MARENTES, et al.,                     FOR THE UNITED STATES
14
                               Defendants.
15
16
17
18         PLEASE TAKE NOTICE that Assistant United States Attorney (“AUSA”)
19 Jehiel I. Baer hereby appears on behalf of the United States for the specific purpose of
20 litigating the forfeiture aspects of this case. Going forward, please serve copies of all
21 pleadings, court documents, and correspondence on AUSA Baer at:
22
                             JEHIEL I. BAER
23
                             Assistant United States Attorney
24                           United States Attorney’s Office
                             700 Stewart Street, Suite 5220
25
                             Seattle, WA 98101
26                           (206) 553-2242
                             Jehiel.Baer@usdoj.gov
27
28 //

     Notice of Appearance - 1                                             UNITED STATES ATTORNEY
                                                                         700 STEWART STREET, SUITE 5220
     United States v. Alan Gomez-Marentes, et al., CR20-092-JCC            SEATTLE, WASHINGTON 98101
                                                                                 (206) 553-7970
             Case 2:20-cr-00092-JCC Document 519 Filed 06/22/21 Page 2 of 3




 1         DATED this 22nd day of June, 2021.
 2
                                                 Respectfully submitted,
 3
                                                 TESSA M. GORMAN
 4
                                                 Acting United States Attorney
 5
 6                                                 s/Jehiel I. Baer
                                                 JEHIEL I. BAER
 7
                                                 Assistant United States Attorney
 8                                               United States Attorney’s Office
                                                 700 Stewart Street, Suite 5220
 9
                                                 Seattle, WA 98101
10                                               (206) 553-2242
                                                 Jehiel.Baer@usdoj.gov
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

     Notice of Appearance - 2                                               UNITED STATES ATTORNEY
                                                                           700 STEWART STREET, SUITE 5220
     United States v. Alan Gomez-Marentes, et al., CR20-092-JCC              SEATTLE, WASHINGTON 98101
                                                                                   (206) 553-7970
             Case 2:20-cr-00092-JCC Document 519 Filed 06/22/21 Page 3 of 3




 1                                 CERTIFICATE OF SERVICE
 2
 3         I hereby certify that on June 22, 2021, I electronically filed the foregoing Notice
 4 with the Clerk of the Court using the CM/ECF system, which sends notice of the filing to
 5 all ECF participants of record.
 6
 7                                                 s/Donna R. Taylor
                                                 DONNA R. TAYLOR
 8
                                                 FSA Paralegal III, Contractor
 9                                               United States Attorney’s Office
                                                 700 Stewart Street, Suite 5220
10
                                                 Seattle, WA 98101
11                                               (206) 553-4132
                                                 Donna.R.Taylor@usdoj.gov
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

     Notice of Appearance - 3                                             UNITED STATES ATTORNEY
                                                                         700 STEWART STREET, SUITE 5220
     United States v. Alan Gomez-Marentes, et al., CR20-092-JCC            SEATTLE, WASHINGTON 98101
                                                                                 (206) 553-7970
